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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 vs.                                             §       No. 2:05-CR-3 (25)
                                                 §
 OLANDARIS DEMONTRAY FEGGETT                     §

                                    MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to a United States

 Magistrate Judge pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge which contains

 his proposed findings of fact and recommendations for the disposition of such action has been

 presented for consideration. Both parties waived their right to file objections to the Report and

 Recommendation. The court is of the opinion that the findings and conclusions of the Magistrate

 Judge are correct. Therefore, the court hereby adopts the report of the United States Magistrate

 Judge as the findings and conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s plea of true to the allegations as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations,

 the court finds that the defendant violated the conditions of his supervised release. It is further

        ORDERED that the defendant be sentenced to time served with 12 months of supervised

 release to follow.

        SIGNED this 2nd day of July, 2009.



                                                __________________________________________
                                                T. JOHN WARD
                                                UNITED STATES DISTRICT JUDGE


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